Case 1:12-cr-00132-JMB        ECF No. 1872, PageID.23134             Filed 02/14/19      Page 1 of 16




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

                Plaintiff,
                                                              File No. 1:12-cr-132
 v.
                                                              HON. JANET T. NEFF
 MATTHEW PENALOZA,

                Defendant.
                                      /

                                           OPINION

                Before the Court is a motion to vacate, set aside, or correct sentence under 28 U.S.C.

 § 2255, filed by Defendant Matthew Penaloza (ECF No. 1802). The Government has filed a

 response to the motion (ECF No. 1829). For the reasons herein, the motion will be denied.

                                          I. Background

                In February 2013, the Government charged Defendant and 30 other members of a

 group called the Holland Latin Kings with conspiring to participate in a criminal enterprise. In

 July 2013, the Government filed a superseding indictment naming Defendant in the following

 counts: Count One, participation in a racketeering conspiracy, 18 U.S.C. § 1962(d); Count

 Twelve, conspiracy to commit assault with a dangerous weapon in aid of racketeering, 18 U.S.C.

 § 1959(a)(6); Count Thirteen, conspiracy to use a firearm during and in relation to a crime of

 violence, 18 U.S.C. §§ 371, 924(c); Count Fifteen, conspiracy with intent to distribute and to

 distribute 100 kilograms or more of marijuana, 18 U.S.C. §§ 846, 841(a), and 841(b)(1)(B)(vii);

 and Count Sixteen, conspiracy with intent to distribute and to distribute 100 kilograms or more of
Case 1:12-cr-00132-JMB        ECF No. 1872, PageID.23135             Filed 02/14/19     Page 2 of 16




 marijuana, 18 U.S.C. §§ 846, 841(a), and 841(b)(1)(B)(vii). (Fourth Superseding Indictment, ECF

 No. 480.)

                In October 2013, Defendant agreed to plead guilty to Counts One and Sixteen in

 exchange for the dismissal of Counts Twelve, Thirteen, and Fifteen. (Plea Agreement, ECF No.

 681.) He entered his plea on October 23, 2013, in a hearing before United States District Judge

 Robert Holmes Bell.

                Prior to sentencing, the probation officer prepared a Presentence Investigation

 Report (PIR) scoring Defendant with an adjusted offense level of 31 and a criminal history score

 of VI, resulting in a guideline sentencing range of 188 to 235 months in prison. (PIR, ECF No.

 891, PageID.6432.)

                The Government and Defendant’s attorney filed objections to the PIR. (ECF Nos.

 907, 914, 915.) Among other things, the Government argued for an offense level of 26, based on

 its negotiations and discussions with Defendant at the time of the plea and its understanding of the

 facts underlying Defendant’s conduct and criminal history. (ECF No. 907.)

                Defendant concurred with many of the Government’s objections and also objected

 to a three-level enhancement for Defendant’s leadership role in the racketeering conspiracy

 because Defendant was in that role for a very short period of time. In addition, Defendant argued

 that several offenses listed in the criminal history should be scored differently. Some of the

 offenses, including his conviction for fleeing and eluding and an instance of assault and battery,

 were relevant conduct for Defendant’s federal conviction for racketeering conspiracy and, thus,

 were not appropriately scored as part of his criminal history.

                The probation officer subsequently issued an amended PIR in response to the

 objections. (Amended Final PIR, ECF No. 940.) The revised PIR gave Defendant an adjusted



                                                  2
Case 1:12-cr-00132-JMB         ECF No. 1872, PageID.23136            Filed 02/14/19      Page 3 of 16




 offense level of 27 and a criminal history score of VI, resulting in a guideline range of 130 to 162

 months in prison. (ECF No. 940.)

                Defendant’s attorney filed a memorandum in response to the revised PIR, again

 objecting to the three-level enhancement for Defendant’s leadership role in the racketeering

 conspiracy, and to a one-level enhancement for possession of a firearm. (ECF No. 959.) In

 addition, Defendant’s attorney asked for a downward variance from the guidelines range to take

 into account the fact that Defendant’s criminal history category “represents a criminal history

 largely dealing with [Defendant’s] activities as a HLK,” and the fact that Defendant had already

 been incarcerated for an extended period of time for offenses related to his activities with the HLK.

 (Id., PageID.8943-8944.)

                Judge Bell sentenced Defendant on March 12, 2014. Defendant’s attorney raised

 the same issues at sentencing that he raised in his written submissions. Judge Bell accepted

 Defendant’s argument that the three-point enhancement for a leadership role was not appropriate,

 and instead gave Defendant a one-point enhancement for that role, but Judge Bell rejected the

 argument regarding possession of a firearm, resulting in a total offense level of 25 and a criminal

 history score of VI. (Sentencing Tr. 13, ECF No. 1003.)

                As to the request for a downward variance, Defendant’s counsel told the Court that

 almost every criminal offense in Defendant’s criminal history involved “relatively minor criminal

 activity with other Holland Latin King members[,]” and that Defendant was incarcerated for

 almost eight years for that activity. (Id. at 16-17.) Counsel asked for a downward variance to

 account for “some overlap” between the racketeering conviction and Defendant’s criminal history.

 (Id. at 18.) The Government opposed the motion for a downward variance, arguing that the

 offenses in the criminal history did not, in fact, overlap the HLK conspiracy.



                                                  3
Case 1:12-cr-00132-JMB        ECF No. 1872, PageID.23137              Filed 02/14/19    Page 4 of 16




                Judge Bell denied the motion for a variance.              He acknowledged some

 “intertwining” between Defendant’s prior convictions and his federal racketeering conviction, but

 nevertheless noted that Defendant’s total criminal history points were “well above the threshold”

 for the highest possible criminal history score, and that Defendant’s repeated incarcerations had

 not deterred him from engaging in further criminal conduct. (Id. at 22.)

                Using a total offense level of 25 and a criminal history score of VI, Judge Bell

 determined that Defendant’s recommended range of sentence under the Guidelines was 110-137

 months. (Id. at 13.) Judge Bell sentenced Defendant at the bottom of this range to 110 months in

 prison, with credit for time served in jail since his arrest. (Id. at 23.) This sentence took into

 account Defendant’s “extensive history” of criminal conduct that was troubling to the Court, and

 provided an “adequate deterrent” to future criminal conduct. (Id.)

                Defendant appealed his sentence. He again challenged the leadership enhancement

 and the enhancement for possession of a firearm. He also raised a new claim: he asserted that the

 calculation of his score under the Guidelines was improper under the Supreme Court’s recent

 ruling in Johnson v. United States, 135 S. Ct. 2551, 2563 (2015), which held that the residual

 clause in the Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B), was invalid. Defendant’s

 base offense level was determined, in part, by the fact that he committed his federal offense

 subsequent to sustaining a conviction for a “crime of violence,” as defined in U.S.S.G. § 4B1.2(a),

 and he argued that his prior conviction would not qualify as a crime of violence if Johnson applied

 to the Sentencing Guidelines.

                The Court of Appeals rejected Defendant’s objections to the scoring of the

 enhancements for his leadership role and his possession of a firearm. However, it remanded the




                                                 4
Case 1:12-cr-00132-JMB        ECF No. 1872, PageID.23138             Filed 02/14/19      Page 5 of 16




 case to the district court to consider the impact of Johnson on Defendant’s sentence. United States

 v. Penaloza, 648 F. App’x 508, 512-17 (6th Cir. 2016).

                On remand, the Government did not respond to Defendant’s contention that

 Johnson applied to his case. Consequently, the Court ordered that Defendant be resentenced.

 (ECF No. 1708.) Applying Johnson and taking into account the Court’s previous rulings, the

 probation officer issued a new PIR that gave Defendant a total offense level of 23 and a criminal

 history score of VI, resulting in a guideline range of 92 to 115 months. (ECF No. 1712.)

                In response to the new PIR, Defendant’s attorney again asked the Court to grant a

 downward variance for the reasons previously raised. In other words, counsel asked the Court to

 take into account the time Defendant spent in custody “for his activities with the Holland Latin

 Kings (HLK) prior to indictment on this offense.”           (Sentencing Mem., ECF No. 1716,

 PageID.22057.) Counsel specifically highlighted the 37 months Defendant spent in custody for

 “the listed underlying racketeering activity of felon in possession and an assault as described in

 PIR ¶ 164 and PIR ¶ 167, respectively.” (Id.)

                Judge Bell resentenced Defendant on October 24, 2016. At the resentencing

 hearing, Defendant’s attorney again urged the Court to consider Defendant’s prior incarceration

 for conduct related to the HLK, and to consider Defendant’s good conduct in prison since his

 previous sentence. Judge Bell gave Defendant a sentence of 108 months, but also included in the

 new judgment a recommendation that “defendant be given special consideration for early furlough

 if no prison infractions.” (Am. J., ECF No. 1718.) Judge Bell explained his sentence as follows:

                  So with that sentencing range, with that criminal history level and looking
        at the seriousness of this offense, this was a question of where we had you charged
        with conspiring to engage in and there were clearly predicate acts that verified your
        conspiracy to engage with others, and that I have to take into account and I still do.
        It still is part of it. I’m going to do this. I’m going to, even though the sentence
        range comes down to an adjusted offense level of 23 and a criminal history level of

                                                  5
Case 1:12-cr-00132-JMB          ECF No. 1872, PageID.23139              Filed 02/14/19       Page 6 of 16




          VI, the sentence range still is there at 92 to 115 months. I’m not always bound by
          that, but I think if I’m going to be consistent with myself, particularly on this matter
          with so many defendants, I’ve had to be very careful to be consistent with
          everybody that’s present in this matter. And while I didn’t decide Johnson, I’ve
          got to live with it somehow.

          And so what I’ve determined is that I’m going to do this with you. I’m going to
          leave the supervised release of three years in place when you get out. I’m going to
          leave the sentence a little bit below where you were. I’m going to leave the sentence
          at 108 months.

                  But I’m going to put a recommendation to the Bureau of Prisons, and the
          Bureau of Prisons will put some of this monkey on your back. I’m going to say to
          be given special consideration for early furlough from prison if no prison
          infractions. What that tells the Bureau of Prisons is if you don’t hear any trouble
          from this fellow, you can go ahead and release him and I won’t object. That’s the
          best I can do for you in this. . . .

                                                           ***

          . . . I don’t want to tell you my hands are tied here, but what I have to be cognizant
          of is that I think I’ve got about 30 of you and I want to be fair to all of you
          particularly on this resentencing so I don’t go way up on one and way down on the
          other and everybody gets all upset about it. I’ve got to keep you all marching in
          the order you’re in, but I’m giving you a little bit of special consideration, and I
          have a hunch based upon my experience that this note I’m placing into the record
          as part of your resentencing about special consideration will be understood by them.

                 In the past, you’re probably the -- in nearly almost 30 years here, 29 and a
          half years here, I think this is probably the fourth or fifth time I’ve done this, and
          I’ve heard back from the prisons saying okay, okay, we understand what you want.
          Okay? That’s all I can do for you. But you’ve got to hold up your end of it.

 (Resentencing Tr. 13-15, ECF No. 1721.)

                 Defendant did not appeal his new sentence. He now raises the following issues in

 his motion under § 2255:

    I.       Mr. Penaloza was Denied the Effective Assistance of Counsel During the
             Post-ReSentencing/Pre-Appeal Stage of the Criminal Proceeding

    II.      Mr. Penaloza was Denied the Effective Assistance of Counsel During the
             Sentencing Hearing and as a Result of Counsel’s Failure to Adequately
             Prepare for Sentencing.



                                                     6
Case 1:12-cr-00132-JMB        ECF No. 1872, PageID.23140             Filed 02/14/19     Page 7 of 16




 (2255 Mot., ECF No. 1802, PageID.22641, 22642.)

                The Government argues that the motion should be denied because it is meritless.

 The Court agrees.

                                           II. Standards

        A. Merits

                A prisoner who moves to vacate his sentence under § 2255 must show that the

 sentence was imposed in violation of the Constitution or laws of the United States, that the court

 was without jurisdiction to impose such a sentence, that the sentence was in excess of the

 maximum authorized by law, or that it is otherwise subject to collateral attack. 28 U.S.C. § 2255.

 To prevail on a § 2255 motion “a petitioner must demonstrate the existence of an error of

 constitutional magnitude which had a substantial and injurious effect or influence on the guilty

 plea or the jury’s verdict.” Humphress v. United States, 398 F.3d 855, 858 (6th Cir. 2005) (quoting

 Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2003)).

        B. Hearing

                The court must hold an evidentiary hearing to determine the issues and make

 findings of fact and conclusions of law “[u]nless the motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief. . . .” 28 U.S.C. § 2255(b). No hearing

 is required if Defendant’s allegations “cannot be accepted as true because they are contradicted by

 the record, inherently incredible, or conclusions rather than statements of fact.” Arredondo v.

 United States, 178 F.3d 778, 782 (6th Cir. 1999) (quotation omitted).

                                           III. Analysis

 Ground One: Ineffective Assistance of Counsel After Resentencing

                Defendant contends that he did not file an appeal because his attorney misadvised

 him regarding the potential drawbacks of doing so. According to an affidavit filed by Defendant,

                                                  7
Case 1:12-cr-00132-JMB          ECF No. 1872, PageID.23141           Filed 02/14/19     Page 8 of 16




 he spoke to his attorney, Peter VanGelderen, after the resentencing hearing and asked about the

 possibility of filing an appeal because Defendant felt that his sentence was “too long” and it did

 not “adequately recognize” the time he had served on state charges and his “post-sentence

 rehabilitation.” (Decl. of Def., ECF No. 1810-1, PageID.22764.) VanGelderen allegedly advised

 him not to appeal, stating, “[Y]ou don’t want to stir the pot too much”; an appeal could “change

 the result ‘of something possibly better than expected of this furlough sentence.’”            (Id.,

 PageID.22764-22765.) VanGelderen also allegedly told Defendant that “Judge Bell couldn’t be

 clearer or give the sentence he wanted to because of potential disparities with [Defendant’s] co-

 defendants and because ‘there is always someone watching.’” (Id., PageID.22765.) VanGelderen

 allegedly promised to file a motion to clarify the “furlough” provision in Defendant’s sentence.

                   Defendant met with his attorney again about a week later. Defendant asked about

 the motion for clarification, and VanGelderen allegedly responded that it would be best for

 Defendant to send a letter Judge Bell. Defendant did so, but did not receive the response that he

 desired.

                   After the appeal deadline expired, Defendant apparently learned from prison

 officials that “they had never heard of an ‘early furlough sentence.’” (Id., PageID.22766.)

 Defendant claims that he wanted to appeal his sentence, but decided not to do so only because he

 accepted his attorney’s advice that he should not disturb the “furlough sentence,” and that Judge

 Bell “was unable to impose a shorter sentence[.]” (Id.)

                   Defendant now claims that his attorney provided ineffective assistance of counsel

 by recommending that he not appeal. According to Defendant, the furlough provision in the

 sentence provided no real benefit, so it was a mistake to forgo an appeal for the sake of protecting

 that provision.



                                                   8
Case 1:12-cr-00132-JMB         ECF No. 1872, PageID.23142            Filed 02/14/19      Page 9 of 16




                In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court established

 a two-prong test by which to evaluate claims of ineffective assistance of counsel. To establish a

 claim of ineffective assistance of counsel, the petitioner must prove: (1) that counsel’s performance

 fell below an objective standard of reasonableness; and (2) that counsel’s deficient performance

 prejudiced the defendant resulting in an unreliable or fundamentally unfair outcome. Id. at 687-

 92. A court considering a claim of ineffective assistance must “indulge a strong presumption that

 counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

 The defendant bears the burden of overcoming the presumption that the challenged action might

 be considered sound strategy. Id. (citing Michel v. Louisiana, 350 U.S. 91, 101 (1955)); see also

 Nagi v. United States, 90 F.3d 130, 135 (6th Cir. 1996) (holding that counsel’s strategic decisions

 were hard to attack). The court must determine whether, in light of the circumstances as they

 existed at the time of counsel’s actions, “the identified acts or omissions were outside the wide

 range of professionally competent assistance.” Strickland, 466 U.S. at 690. Even if a court

 determines that counsel’s performance was outside that range, the defendant is not entitled to relief

 if counsel’s error had no effect on the judgment. Id. at 691.

                The Strickland analysis applies where counsel fails to file an appeal. Generally,

 “when counsel’s constitutionally deficient performance deprives a defendant of an appeal that he

 otherwise would have taken, the defendant has made out a successful ineffective assistance of

 counsel claim[.]” Roe v. Flores-Ortega, 528 U.S. 470, 484 (2000). According to the Supreme

 Court, “a lawyer who disregards specific instructions from the defendant to file a notice of appeal

 acts in a manner that is professionally unreasonable,” and has provided ineffective assistance. Id.

 at 477. But absent such an instruction,

        counsel has a constitutionally imposed duty to consult with the defendant about an
        appeal when there is reason to think either (1) that a rational defendant would want

                                                  9
Case 1:12-cr-00132-JMB          ECF No. 1872, PageID.23143             Filed 02/14/19      Page 10 of
                                              16



        to appeal (for example, because there are nonfrivolous grounds for appeal), or (2)
        that this particular defendant reasonably demonstrated to counsel that he was
        interested in appealing.

 Id. at 480. “If . . . counsel failed to consult with her client, then the court must address whether

 the failure to consult, by itself, is indicative of deficient performance.” Regalado v. United States,

 334 F.3d 520, 525 (6th Cir. 2003).

                In this case, Defendant does not claim that he expressly instructed his attorney to

 file an appeal. Nor does he claim that his attorney failed to consult with him. In these

 circumstances, the language of some cases suggests that this Court must find that his attorney’s

 performance was reasonable. See United States v. Doyle, 631 F. 3d 815, 818 (6th Cir. 2011) (“Our

 application of Flores–Ortega is thus clear: because counsel consulted with Doyle about an appeal

 and Doyle never instructed him to appeal, counsel’s performance was not unreasonable.”);

 Johnson v. United States, 364 F. App’x 972, 976-77 (6th Cir. 2010) (“Because Grant consulted

 with [defendant] and [defendant] never gave express instructions to file an appeal, Flores-Ortega

 compels the conclusion that Grant’s actions were objectively reasonable.”); Spence v. United

 States, 68 F. App’x 669, 671 (6th Cir. 2003) (“Given that [Defendant’s] attorney consulted with

 him regarding the possibility of an appeal, the attorney’s performance may be found professionally

 unreasonable only if the attorney failed to follow an express instruction from [Defendant] to file

 an appeal”).

                However, the foregoing cases did not involve precisely the sort of challenge raised

 here. In effect, Defendant challenges the adequacy of the consultation that he received. Counsel

 allegedly told Defendant that he could risk losing a benefit that, according to Defendant, was not

 actually a benefit. Thus, the pertinent issue is whether the advice by Defendant’s attorney




                                                  10
Case 1:12-cr-00132-JMB             ECF No. 1872, PageID.23144         Filed 02/14/19     Page 11 of
                                                 16



 constitutes deficient performance and whether, absent such advice, there is a reasonable

 probability Defendant would have filed a timely appeal. See Flores-Ortega, 528 U.S. at 484.

                Flores-Ortega does not provide much guidance on what an attorney must do to

 provide proper counsel to a defendant considering an appeal, other than to “advis[e] the defendant

 about the advantages and disadvantages of taking an appeal, and mak[e] a reasonable effort to

 discover the defendant’s wishes.” That appears to be what happened here. Counsel allegedly told

 Defendant that a risk of filing an appeal would be to disturb the benefits Plaintiff received,

 including the unusual furlough provision, and then they agreed not to appeal. Defendant believes

 that his attorney’s advice was incorrect, but the Court is not persuaded that counsel’s performance

 was constitutionally deficient.

                As the Supreme Court noted in Flores-Ortega, “‘[j]udicial scrutiny of counsel’s

 performance must be highly deferential.’” Id. at 477 (quoting Strickland, 466 U.S. at 689). That

 deference is particularly appropriate here, where Defendant had already filed an appeal.       The

 issues he could have raised in a second appeal were limited. Generally, “a party is precluded from

 raising any issues on second appeal which could have been raised on the first one (barring some

 new development on remand which should be addressed in a subsequent appeal).” Stamper v.

 United States, 258 F. App’x 795, 799 (6th Cir. 2007). Given that Defendant received all the benefit

 to which he was entitled under the remand, it is questionable whether another appeal would have

 been warranted. If he thought that his sentence did not adequately take into account his prior

 incarceration for HLK-related offenses, that is something that he could have raised in his first

 appeal. It is not likely that he would have been able to raise the issue the second time around.

                Furthermore, by appealing, Defendant risked nullifying the benefit of the remand.

 As Defendant’s attorney surely recognized, the state of the law under Johnson was unsettled when



                                                 11
Case 1:12-cr-00132-JMB         ECF No. 1872, PageID.23145            Filed 02/14/19      Page 12 of
                                             16



 the Court resentenced Defendant. The Supreme Court had not yet decided whether the reasoning

 in Johnson applied to the Sentencing Guidelines. Later, the Supreme Court held that it did not

 apply to the Guidelines. See Beckles v. United States, 137 S. Ct. 886, 895 (2016). If Beckles had

 been decided earlier, Defendant would not have been resentenced to 108 months in prison.

 Moreover, if Defendant had appealed his new sentence and the Supreme Court had issued its

 decision in Beckles before that appeal was decided, it is possible that the reduction he received

 with his new sentence would have been nullified. Accordingly, Defendant has not shown that his

 attorney’s advice not to appeal was objectively unreasonable.

                Defendant faults his counsel for allegedly misleading Defendant into thinking that

 the furlough provision would provide a benefit. However, it was reasonable for counsel to believe

 that an express recommendation by a sentencing judge in a written judgment of sentence, one that

 the judge stated he had given on other occasions, would be considered by prison officials and could

 provide a benefit.

                Furthermore, the Court is not persuaded that there is a reasonable probability that

 Defendant would have appealed if not for his attorney’s advice about the furlough provision.

 Judging from Defendant’s affidavit, Defendant was aware soon after his sentence that there was

 some uncertainty in how the furlough provision would be applied. Apparently, that is why

 Defendant’s attorney promised to file a motion for clarification.       Despite this uncertainty,

 Defendant opted not to appeal. Defendant’s assertion that he did not appeal because he did not

 want to disturb an uncertain benefit rings hollow.

                Defendant also faults counsel for failing to “remedy” Defendant’s “issues” with the

 furlough provision of the sentence by filing a motion for clarification. (§ 2255 Mot., ECF No.

 1803, PageID.22658.) It is not clear, however, what “remedy” such a motion offered or what



                                                 12
Case 1:12-cr-00132-JMB          ECF No. 1872, PageID.23146             Filed 02/14/19      Page 13 of
                                              16



 Defendant expected to result from such a motion. Thus, Defendant has not established that failure

 to file the motion was objectively unreasonable.

                Moreover, Defendant has not established prejudice from the failure to file the

 motion because Defendant learned that his attorney had not filed such a motion when he still had

 an opportunity to instruct his attorney to file a timely appeal. Thus, the failure to file that motion

 clearly did not impact Defendant’s decision.

                In addition, there was nothing unreasonable about Defendant’s attorney’s advice

 that Judge Bell could not, or would not, issue a lower sentence to account for Defendant’s

 incarceration for HLK-related offenses. Defendant’s attorneys presented this issue to Judge Bell

 on multiple occasions, yet Judge Bell declined to give Defendant the requested variance. Judge

 Bell recognized that some of Defendant’s prior convictions (and incarceration therefrom) were

 somewhat “intertwined” with his racketeering conviction, but also noted that Defendant had so

 many criminal history points that he far exceeded the threshold for the highest criminal history

 category. In addition, Judge Bell suggested that Defendant’s history of repeated crime and

 incarceration warranted an even stronger sentence. These determinations were well within his

 discretion as a sentencing judge.

                For similar reasons, Defendant has not shown prejudice. It is not clear what benefit

 Defendant could have obtained by filing an appeal. He offers no nonfrivolous grounds for filing

 an appeal. See Flores-Ortega, 528 U.S. at 486 (noting that prejudice can be satisfied by showing

 “nonfrivolous grounds for appeal”). Defendant is not required to show nonfrivolous grounds for

 an appeal to demonstrate prejudice, but the lack of such grounds is still relevant for determining

 whether he would have appealed if given reasonable advice. See id.




                                                  13
Case 1:12-cr-00132-JMB           ECF No. 1872, PageID.23147            Filed 02/14/19      Page 14 of
                                               16



                 Also relevant to the prejudice analysis is the fact that Defendant delayed for so long

 before filing his motion for under § 2255. Defendant contends he learned that prison officials were

 not aware of a furlough sentence “[a]fter [he] returned to prison[.]” (Decl. of Def., PageID.22765.)

 However, he apparently waited almost a year before filing his motion under § 2255. This delay

 suggests that it is unlikely Defendant would have promptly filed or requested an appeal if given

 different advice. See Johnson v. United States, 364 F. App’x 972, 977 (6th Cir. 2010) (denying

 relief under § 2255 where the defendant “waited almost a full year after sentencing” to file a § 2255

 motion); Cross v. United States, 73 F. App’x 864, 866 (6th Cir. 2003) (denying relief where

 defendant “waited nearly eight months after sentencing” before filing a § 2255 motion based on

 failure to file a notice of appeal).

                 Thus, for all the foregoing reasons, Ground One is meritless.

 Ground Two: Failure to Adequately Prepare for Sentencing

                 Defendant also claims that his counsel’s assistance was inadequate because he did

 not “provide legal authority in support of, and properly and fully advocate that [Defendant] should

 receive a downward departure based on time served on parole violations for conduct considered

 relevant to the instant offense.” (§ 2255 Mot., PageID.22662.) In short, Defendant believes that

 counsel did not “properly convey that the Court enjoyed discretion to grant [Defendant] a

 downward departure[.]” (Id., PageID.22663.)

                 This claim is subject to the performance and prejudice test in Strickland. In other

 words Defendant must show that his attorney’s performance was objectively unreasonable.

 Strickland, 466 U.S. at 689-91. In addition, Defendant must show that his attorney’s deficient

 performance prejudiced him. That is, Defendant must show that “there is a reasonable probability

 that, but for counsel’s unprofessional errors, the result of the proceeding would have been

 different.” Id. at 694.
                                                  14
Case 1:12-cr-00132-JMB         ECF No. 1872, PageID.23148             Filed 02/14/19      Page 15 of
                                             16



                It is difficult to find any deficiency in counsel’s performance because counsel raised

 the issue of a downward departure on multiple occasions, before and during both sentencing

 hearings.   Counsel was not able to persuade the Court, but that does not mean counsel’s

 performance was professionally unreasonable. See Lenam v. United States, 554 F. App’x 413, 415

 (6th Cir. 2014) (“[T]he standard is not whether trial counsel for the defense could have done more,

 but whether he acted reasonably.”).

                Defendant apparently believes that Judge Bell was unaware that he had discretion

 to grant the motion for downward departure. However, counsel also pointed out to the Court on

 several occasions that some of Defendant’s co-defendants had received similar consideration for

 prior sentences that they served for HLK-related activity. (See Sentencing Mem., ECF No. 1716,

 PageID.22057; Resentencing Tr. 5.) And as the Government points out, Judge Bell was the one

 who sentenced those co-defendants. Thus, there is no question that Judge Bell was already aware

 that he had the authority to give the same type of credit to Defendant. Making plain to the Court

 something that was already apparent would not have changed the outcome.                Accordingly,

 Defendant has not shown unreasonable performance or prejudice. Consequently, the claim in

 Ground Two is meritless.

                                       IV. Pending Motions

                Also before the Court are Defendant’s motions to supplement or expand the record.

 (ECF Nos. 1802, 1804.) The Government has not responded to these motions, which simply ask

 the Court to consider affidavits signed by Defendant recounting the events underlying his claims.

 The motions will be granted.      As indicated in the previous section, the Court considered

 Defendant’s affidavits when analyzing his claims.




                                                 15
Case 1:12-cr-00132-JMB         ECF No. 1872, PageID.23149            Filed 02/14/19      Page 16 of
                                             16



                                            Conclusion

                For the reasons stated, Defendant’s motion seeking relief under 28 U.S.C. § 2255

 is meritless. Moreover, an evidentiary hearing is not required because the record of the case

 conclusively shows that Defendant is not entitled to relief. The Court will grant Defendant’s

 motions to supplement the record; however, his motion under § 2255 will be denied.

                Under 28 U.S.C. § 2253(c), the Court must determine whether to issue a certificate

 of appealability. A certificate should issue if the movant has demonstrated “a substantial showing

 of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth Circuit has disapproved

 of issuance of blanket denials of a certificate of appealability. Murphy v. Ohio, 263 F.3d 466, 467

 (6th Cir. 2001). The district court must “engage in a reasoned assessment of each claim” to

 determine whether a certificate is warranted. Id. Each issue must be considered under the

 standards set forth by the Supreme Court in Slack v. McDaniel, 529 U.S. 473 (2000). Murphy,

 263 F.3d at 467. Under Slack, to warrant a grant of the certificate, Defendant “must demonstrate

 that reasonable jurists would find the district court’s assessment of the constitutional claims

 debatable or wrong.” 529 U.S. at 484.

                The Court has carefully considered the issues in this matter and finds that

 reasonable jurists could not find that this Court’s denial of Defendant’s claims was debatable or

 wrong. Thus, a certificate of appealability will be denied.

                An order will enter consistent with this Opinion.




 Dated:    February 14, 2019                            /s/ Janet T. Neff
                                                      Janet T. Neff
                                                      United States District Judge



                                                 16
